                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
                         MILWAUKEE DIVISION
______________________________________________________________________

BUILDING TRADES UNITED PENSION TRUST FUND
AND SCOTT REDMAN (in his capacity as Trustee),

                    Plaintiffs,

      v.                                               Case No. 18-CV-5

PINNACLE WOODWORK, INC.

                Defendant.
______________________________________________________________________

                              COMPLAINT
______________________________________________________________________

      NOW COME the Plaintiffs, by their attorneys, The Previant Law Firm, S.C., by

Philip E. Thompson, and as and for a cause of action against the Defendant, allege and

show to the Court the following:

                                   Jurisdiction and Venue

      1.     Jurisdiction of this Court upon Pinnacle Woodwork, Inc. (hereinafter

referred to as “Pinnacle Woodwork”) is founded upon Section 502 of the Employee

Retirement Income Security Act of 1974 (hereinafter “ERISA”) (29 U.S.C. § 1132), in

that the Plaintiffs are aggrieved by said Defendant’s violation of a collective bargaining

agreement, trust plans and trust agreements, and said Defendant’s continued refusal to

abide by the terms of those plans and agreements, thereby violating provisions of

ERISA, the Multi-Employer Pension Plan Amendments Act (“MPPAA”), the terms and

provisions of the employee benefit plans, and the common law of the State of

Wisconsin.




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      2.     Venue lies in this Court under ERISA § 502(e)(2) (29 U.S.C. § 1132(e) (2))

in that Plaintiff Building Trades United Pension Trust Fund is administered in Waukesha

County, Wisconsin.

                                         Parties

      3.     Plaintiff Building Trades United Pension Trust Fund is an employee benefit

plan within the meaning of §§ 3(1), (2), (3), and (37), 502, and 515 of ERISA, as

amended by the MPPAA (codified as amended at 29 U.S.C. §§ 1002(1), (2), (3), and

(37), 1132, and 1145), and brings this action on behalf of the Trustees, participants, and

beneficiaries of said plan. Said plan maintains offices at 500 Elm Grove Road, Elm

Grove, WI 53122.

      4.     Plaintiff Scott Redman is a Trustee and a fiduciary of the Building Trades

United Pension Trust Fund, as well as a participant and beneficiary within the meaning

of ERISA and as such has standing to be a Plaintiff in this action and to seek the

remedies prayed for.     Scott Redman maintains an office at 11175 West Parkland

Avenue, Milwaukee, Wisconsin 53224.

      5.     Defendant Pinnacle Woodwork is a domestic corporation, with principal

offices located at W194 N11400 McCormick Drive, Germantown, WI 53022.                  Its

registered agent for service of process is Anthony Mastrocola, W194 N11400

McCormick Drive, Germantown, WI 53022.

                                          Facts

      6.     Pinnacle Woodwork is an employer and party in interest in an industry

affecting commerce within the meaning of ERISA §§ 3(5),(11),(12) and (14) (29 U.S.C.

§§ 1002(5),(11),(12) and (14)).

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       7.     For all times relevant, Pinnacle Woodwork was and remains a party to and

agreed to abide by the terms of one or more collective bargaining agreements

(hereinafter “Labor Agreements”) between itself and the Chicago Regional Council of

Carpenters Union (the “Union”).

       8.     The Labor Agreements described herein contain provisions whereby

Pinnacle Woodwork agreed to make timely payments to the Plaintiff’s trust funds for

each employee covered by said Labor Agreements.

       9.     By execution of said Labor Agreements, Pinnacle Woodwork adopted the

trust agreements and amendments thereof which establish and govern the Plaintiff and

are necessary for their administration, and designated as its representatives on the

board of trustees such trustees as have been named and appointed pursuant to said

trust agreements, together with their successors selected in the manner provided in

such trust agreements, and thereby ratifying all actions already taken or to be taken

within the scope of their authority.

       10.    By virtue of executing the Labor Agreements and adopting and assenting

to all the terms and provisions of the trust agreements, and the rules and regulations

heretofore and hereafter adopted by the trustees of said trust funds, Pinnacle

Woodwork has agreed as follows:

              a.     to file monthly reports and make timely and prompt contributions to

                     the Funds for each employee covered by the aforementioned Labor

                     Agreements;

              b.     to designate, and accept as its representatives, the Trustees

                     named in the declaration of trust and their successors;

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              c.     to adopt and abide by all of the rules and regulations adopted by

                     the Trustees of the Funds pursuant to the trust agreements;

              d.     to adopt and abide by all of the actions of the Trustees in

                     administering the Funds in accordance with the trust agreements

                     and the rules so adopted;

              e.     to pay, in addition to all of the contributions which are due and

                     owing, liquidated damages and interest relative to delinquent

                     contributions; and

              f.     to pay, in addition to delinquent contributions, interest and

                     liquidated damages, actual attorney fees, audit fees, court costs

                     and service fees, should legal action be necessary to obtain

                     delinquent contributions, interest and liquidated damages.

       11.    Pinnacle Woodwork has failed to perform its obligations pursuant to the

terms and conditions of the Labor Agreements and trust agreements by, although not

necessarily limited to, the following:

              a.     failing to make continuing and prompt payments to the Funds as

                     required by the Labor Agreements and trust agreements for all of

                     Pinnacle Woodwork’s covered employees; and

              b.     failing to accurately report employee work status to the Plaintiffs.

       12.    ERISA § 502(g) (2), as amended by the MPPAA provides:

              (2)    In any action under this title by a fiduciary for or on
              behalf of a plan to enforce section 515 in which a judgment in
              favor of the plan is awarded, the court shall award the plan --

              (A)    the unpaid contributions,

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             (B)    interest on the unpaid contributions,

             (C)    an amount equal to the greater of --

                    (i)    interest on the unpaid contributions, or

                    (ii)   liquidated damages provided for under the plan in an amount
                           not in excess of 20 percent (or such higher percentage as
                           may be permitted under Federal of State law) of the amount
                           determined by the court under subparagraph (A),

             (D)    reasonable attorney's fees and costs of this action, to be paid by
                    the defendant, and

             (E)    such other legal or equitable relief as the court deems appropriate.

For purposes of this paragraph, interest on unpaid contributions shall be determined by
using the rate provided under the plan, or, if none, the rate prescribed under section
6621 of the Internal Revenue Code of 1954.

      13.    ERISA § 515 provides:

             Every employer who is obligated to make contributions to a
             multiemployer plan under the terms of the plan or under the
             terms of a collectively bargained agreement shall, to the extent
             not inconsistent with law, make such contributions in accordance
             with the terms and conditions of such plan or agreement.

      14.    On May 10, 2017, Plaintiffs conducted an audit upon Pinnacle

Woodwork’s books and records, which revealed the following delinquency:

Audit Period January 1, 2016 through March 31, 2017:
Building Trades United Pension Trust Fund                                    $56,370.37


      15.    In order to forestall Plaintiffs from commencing a lawsuit to pursue a

judgment for the audited amounts, on July 27, 2017, Pinnacle Woodwork agreed to a

settlement agreement to repay the delinquency.




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      16.    Pursuant to the settlement agreement, Pinnacle Woodwork agreed that it

owed to the Plaintiffs the total of $56,370.37, for hours worked by its employees through

March 31, 2017. The payment agreement required Pinnacle Woodwork to pay off the

delinquency by making eighteen (18) monthly payments of $3,000.00, and one final

payment of $2,370.37. The settlement agreement also required Pinnacle Woodwork to

remain current with contribution payments for hours worked by its employees after

March 31, 2017.

      17.    After making two payments totaling $6,000.00, Pinnacle Woodwork has

not made any other payments required by the repayment agreement, so that its failure

to make the payments required by the agreement constitutes a default of the repayment

agreement.

      18.    On November 1, 2017, Plaintiffs conducted upon Pinnacle Woodwork’s

books and records, which revealed the following delinquency:

Audit Period April 1, 2017 through September 30, 2017:
Building Trades United Pension Trust Fund                                    $89,671.21


      19.    Pinnacle Woodwork’s failure to remain current with contributions

constitutes a default of the repayment agreement.

      20.    As required by the repayment agreement, the Plaintiffs gave notice of its

default on November 11, 2017, and an opportunity to cure the default by submitting the

required monthly payment and remitting payments to retire the April 1, 2007 through

September 30, 2017 audit.

      21.    Pinnacle Woodwork’s failure to cure the default constitutes a breach of the

repayment agreement, thus entitling the Plaintiffs to file suit for the full amount of

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$56,370.37, minus a total of $6,000.00 in payments that the Plaintiffs have received

from Pinnacle Woodwork.

       22.    Despite demands that Pinnacle Woodwork perform its statutory and

contractual obligations, the Plaintiffs have ascertained that said Defendant has wholly

failed, neglected, omitted and refused to allow access to the Fund’s auditor to determine

whether Defendant has made its required payments.            Pinnacle Woodwork is now

indebted to the Plaintiff as follows:

Audit Period January 1, 2016 through March 31, 2017:
Building Trades United Pension Trust Fund                                      $50,370.37

Audit Period April 1, 2017 through September 30, 2017:
Building Trades United Pension Trust Fund                                      $89,671.21

Unaudit Period October 1, 2017 to Present:
Building Trades United Pension Trust Fund                                        Unknown

               Claim One Against Defendant Pinnacle Woodwork, Inc.
             Violation of ERISA §§ 502 and 515 (29 U.S.C. §§ 1132, 1145)

       23.    As and for a first claim for relief against Pinnacle Woodwork, the Plaintiffs

reallege each and every allegation contained in paragraphs 1 through 22 above and

incorporate the same as though fully set forth herein word for word.

       24.    For purposes of this claim (Claim One), the Building Trades United

Pension Trust Fund is hereinafter referred to as the “Pension Fund.”

       25.    Due demand has been made by the Pension Fund upon Pinnacle

Woodwork for payment of all sums due and owing, but said Defendant has refused to

pay them, or any part thereof, and all amounts remain due and owing.

       26.    Because, as the Pension Fund is informed and believes, Pinnacle

Woodwork has not made timely and prompt contributions on behalf of all covered

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employees, the corpus of the Pension Fund’s trust funds is reduced, the Pension Fund’s

income is reduced, and their ability to pay benefits to qualified participants and

beneficiaries is curtailed.   Consequently, ERISA and the Pension Fund’s employee

benefit plans have been violated, and the Pension Fund is entitled to all of the remedies

provided by ERISA.

       27.    Because Pinnacle Woodwork has failed to make timely and prompt

contributions, some of the Pension Fund’s beneficiaries and participants could have

eligibility terminated and benefits reduced for which they would otherwise qualify.

These beneficiaries and participants would be left without an adequate remedy at law

and would suffer severe and irreparable harm if said Defendant is not mandatorily

compelled to comply with the Labor Agreements and enjoined from further breaches.

       WHEREFORE, the Pension Fund demands the following relief:

       1.     Judgment on behalf of the Pension Fund and against Pinnacle Woodwork

as follows:

              A.     For $50,370.37 representing contributions, interest and liquidated

                     damages due, after applying payments, to the Pension Trust Fund

                     for the audit period January 1, 2016 through March 31, 2017;

              B.     For $89,671.21 representing contributions, interest and liquidated

                     damages due, after applying payments, to the Pension Trust Fund

                     for the audit period April 1, 2017 through September 30, 2017;

              C.     For unpaid contributions, interest and liquidated damages owed to

                     the Pension Fund for the period October 1, 2017 through the date

                     this action was commenced;

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              D.     For contributions, interest and liquidated damages owed to the

                     Pension     Fund   becoming      due    and/or   arising   after   the

                     commencement of this lawsuit through the date of judgment; and

              E.     Actual attorney fees and the costs of this action.

       2.     For such other, further or different relief as the court deems just and

proper.

              Claim Two - Against Defendant Pinnacle Woodwork, Inc.
                              For Breach of Contract

       27.    As and for a third claim for relief against Pinnacle Woodwork, the Plaintiffs

repeat and reallege each and every allegation contained in paragraphs 1 through 26 of

the complaint.

       28.    By entering into a repayment agreement with the Plaintiffs, Pinnacle

Woodwork agreed that it owed to the Plaintiffs the amount of $56,370.37, and to pay to

the Plaintiffs that full amount owed.

       29.    By failing to make payments required by the repayment agreement, and

becoming in default of the forbearance agreement, Pinnacle Woodwork has breached

the forbearance agreement.

       30.    The Plaintiffs therefore can enforce Pinnacle Woodwork’s promise to pay

the amount of $56,370.37 to the Plaintiffs through a breach of contract action.

       WHEREFORE, the Plaintiffs demand the following relief:

       1.     Judgment in favor of the Plaintiffs, and against Pinnacle Woodwork in the

              amount of $50,370.37, plus applicable interest, attorneys fees, and costs.

       2.     Such other and further relief as the Court deems just and proper.



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Dated this 2nd day of January, 2018.



                                 s/Philip T. Thompson
                                 Philip E. Thompson (SBN: 1099139)
                                 The Previant Law Firm, S.C.
                                 310 W. Wisconsin Avenue
                                 Suite 100MW
                                 Milwaukee, WI 53212
                                 Telephone: 414-223-0409
                                 Fax: 414-271-6308
                                 Email: pet@previant.com

                                 Attorneys for Plaintiffs




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